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Joseph A. Bileyer

     

From: ra oo. Joseph A. Bleyer <jableyer@bleyerlaw.com>

Sent: a Wednesday, September 09, 2020 9:39 AM
To: , ~-. - -G, PATRICK MURPHY (patrick@murphymurphylic.com)
Ce: 7. TERRY M. GREEN (terrymgreenattorney@mchsi.com)

Subject: a Hill v Franklin County :

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Mr.G. Patrick Murphy,

: Murphy & Murphy
3415 Office Park Drive As

 SuiteD 8 SM sO
_ Marion, IL 62959. 6478 co

| Insured: Franklin County, Tinois is .
Plaintiff: Felicia Hill . PES
- Date of Foss: _ August: 5; 2019

oe - De Dear Mr. - Morphy

claims by] F elicia Hill against Franklin County . for the sum of $75, 000.00. Iti is my

- ™ understanding you a are © going to » procerd with ‘your claim m against C Chet Shaffer.

 

: “This will confirm ¢ our conversation sn September 4, 2020, at t which time \ we settled a all the. & es

 
